Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 1 of 33 Page ID #:1654



   1   XAVIER BECERRA
       Attorney General of California
   2   MARK R. BECKINGTON
       Supervising Deputy Attorney General
   3   JOHN D. ECHEVERRIA
       Deputy Attorney General
   4   PETER H. CHANG
       Deputy Attorney General
   5   State Bar No. 241467
       455 Golden Gate Avenue, Suite 11000
   6   San Francisco, CA 94102-7004
       Telephone: (415) 510-3776
   7   Fax: (415) 703-1234
       E-mail: Peter.Chang@doj.ca.gov
   8   Attorneys for Defendant Xavier Becerra
   9
                         IN THE UNITED STATES DISTRICT COURT
  10
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11
                                   SOUTHERN DIVISION
  12
  13
  14   STEVEN RUPP, et al.,,                      8:17-cv-00746-JLS-JDE
  15                                Plaintiffs,   DEFENDANT’S NOTICE OF
                                                  MOTION AND MOTION FOR
  16               v.                             SUMMARY JUDGMENT;
                                                  MEMORANDUM OF POINTS
  17   XAVIER BECERRA, in his official            AND AUTHORITIES
       capacity as Attorney General of the
  18   State of California, et al.,               Date:           May 31, 2019
                                                  Time:           10:30 a.m.
  19                              Defendants.     Courtroom:      10A
                                                  Judge:          Hon. Josephine L. Staton
  20                                              Trial Date:     N/A
                                                  Action Filed:   April 24, 2017
  21
  22
  23
  24
  25
  26
  27
  28
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 2 of 33 Page ID #:1655



   1        TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that, on May 31, 2019, at 10:30 a.m., or as soon
   3   thereafter as the matter may be heard, in Courtroom 10a of the above-titled court,
   4   located at 411 W. Fourth St., Santa Ana, California 92701, defendant Xavier
   5   Becerra, in his capacity as the Attorney General of the State of California
   6   (“Defendant”), shall move, and hereby does move, this Court for summary
   7   judgment under Federal Rule of Civil Procedure 56(a). Defendant brings this
   8   motion because California’s restrictions on civilian access to rifles that qualify as
   9   “assault weapons,” see Cal. Penal Code §§ 30510(a), 30515(a)(1)(A)-(C),
  10   30515(a)(1)(E)-(F), 30515(a)(3), 30520, 30600, 30605, 30925, 30945; Cal. Code
  11   Regs. tit. 11, § 5499, is constitutional under the Second Amendment to the United
  12   States Constitution.
  13        This motion is based on this notice of motion and motion, the accompanying
  14   memorandum of points and authorities, the concurrently filed Declaration of Peter
  15   H. Chang, including the exhibits thereto, the concurrently filed Statement of
  16   Uncontroverted Facts and Conclusions of Law, the pleadings and papers on file,
  17   and upon such further evidence, both oral and documentary, as may be offered at
  18   the time of the hearing on the motion.
  19   Dated: March 25, 2019                          Respectfully submitted,
  20                                                  XAVIER BECERRA
                                                      Attorney General of California
  21                                                  MARK R. BECKINGTON
                                                      Supervising Deputy Attorney General
  22                                                  JOHN D. ECHEVERRIA
                                                      Deputy Attorney General
  23
                                                      /s/ Peter H. Chang
  24
                                                      PETER H. CHANG
  25                                                  Deputy Attorney General
                                                      Attorneys for Defendant Xavier
  26                                                  Becerra
  27
  28
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 3 of 33 Page ID #:1656



   1                                            TABLE OF CONTENTS
   2
                                                                                                                           Page
   3   Memorandum of Points and Authorities.................................................................. 1
   4   Introduction ............................................................................................................1
       Background.............................................................................................................2
   5         I.     The Roberti-Roos Assault Weapons Control Act of 1989 ...................2
   6         II.    The AWCA’s Restrictions on Rifles Based on Their Features ............4
   7   Procedural History ..................................................................................................6
       Legal Standard ........................................................................................................6
   8   Argument ................................................................................................................7
   9         I.     The Second Amendment’s Legal Framework .....................................7
  10         II.    California’s Restrictions on Assault Rifles Do Not Burden the
                    Second Amendment ............................................................................7
  11                A.        Assault Rifles Are “Like” the M-16 and Other “Weapons
                              That Are Most Useful in Military Service” ...............................8
  12                          1.        Assault Rifles Are Functionally Similar to Military
  13                                    Rifles ..............................................................................8
                              2.        The Prohibited Features, Individually and in
  14                                    Combination, Serve Specific Combat Functions ........... 10
  15                                    a.        Ability to Accept Detachable Magazines ............ 10
                                        b.        Pistol Grips and Thumbhole Stocks .................... 11
  16                                    c.        Folding or Telescoping Stocks ............................ 12
  17                                    d.        Flash Suppressors ............................................... 12
  18                          3.        Gun Manufacturers Market Assault Rifles to
                                        Civilians Based on Their Militaristic Features .............. 13
  19                B.        Assault Rifles Are Not Commonly Owned or Used for
                              Purposes Protected by the Second Amendment ....................... 14
  20                          1.        Assault Rifles Are Not Commonly Owned ................... 14
  21                          2.        Assault Rifles Are Not Commonly Used for Self-
                                        Defense ......................................................................... 15
  22         III. Even if the Second Amendment Is Implicated, California’s
  23                Restrictions on Assault Rifles Are Constitutional ............................. 16
                    A.        Intermediate Scrutiny Is the Appropriate Standard of
  24                          Review .................................................................................... 16
  25                B.        The Assault-Rifle Restrictions Are Reasonably Fitted to
                              Important Public-Safety Interests ............................................ 18
  26                          1.        Assault Rifles Are Favored by Criminals and Used
                                        Disproportionally in Crime ........................................... 19
  27                          2.        Assault Rifles Are Used Disproportionately in
  28                                    Mass Murders ............................................................... 20

                                                                  i
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 4 of 33 Page ID #:1657



   1                                            TABLE OF CONTENTS
   2                                                (continued)
                                                                                                                           Page
   3                               3.   Assault Rifles Are Used Disproportionately
                                        Against Law Enforcement Officers ............................... 21
   4                          4.        Assault Rifles Are More Lethal and Cause More
   5                                    Serious Injuries Than Handguns ................................... 21
                    C.        The AWCA’s Assault Rifle Restrictions Reasonably
   6                          Further California’s Public-Safety Interests ............................ 23
   7   Conclusion ............................................................................................................ 24

   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                  ii
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 5 of 33 Page ID #:1658



   1                                       TABLE OF AUTHORITIES
   2
                                                                                                                   Page
   3   CASES
   4   Bauer v. Becerra
   5     858 F.3d 1216 (9th Cir. 2017) ..................................................................... 15, 17
   6   City of Renton v. Playtime Theatres, Inc.
   7      475 U.S. 41 (1986)............................................................................................ 18

   8   Daggett v. Comm’n on Governmental Ethics & Election Practices
         172 F.3d 104 (1st Cir. 1999) ...............................................................................6
   9
  10   Daggett v. Comm’n on Governmental Ethics & Election Practices
         205 F.3d 445 (1st Cir. 2000) ...............................................................................6
  11
       District of Columbia v. Heller
  12
          554 U.S. 570 (2008) ...................................................................................passim
  13
       Friedman v. City of Highland Park
  14      784 F.3d 406 (7th Cir. 2015) ......................................................................... 2, 16
  15
       Fyock v. Sunnyvale
  16     779 F.3d 991 (9th Cir. 2015) ............................................................. 7, 14, 18, 19
  17   Heller v. District of Columbia (Heller II)
  18     670 F.3d 1244 (D.C. Cir. 2011) .................................................................passim

  19   Jackson v. City & Cty. of San Francisco
          746 F.3d 953 (9th Cir. 2014) ....................................................................... 16, 17
  20
  21   Kachalsky v. Cnty. of Westchester
         701 F.3d 81 (2d Cir. 2012) ................................................................................ 18
  22
       Kasler v. Lockyer
  23
         2 P.3d 581 (Cal. 2000) .............................................................................. 2, 3, 19
  24
       Kolbe v. Hogan
  25     849 F.3d 114 (4th Cir. 2017) ......................................................................passim
  26
       Kolbe v. O’Malley
  27     42 F. Supp. 3d 768 (D. Md. 2014) .................................................................... 20
  28

                                                              iii
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 6 of 33 Page ID #:1659



   1                                       TABLE OF AUTHORITIES
   2                                             (continued)
                                                                                                                   Page
   3   Korematsu v. United States
   4     584 F. Supp. 1406 (N.D. Cal. 1984) ....................................................................6

   5   N.Y.S. Rifle & Pistol Ass’n v. Cuomo
          990 F. Supp. 2d 349 (W.D.N.Y. 2013) .............................................................. 20
   6
   7   N.Y. State Rifle & Pistol Ass’n v. Cuomo (NYSRPA)
          804 F.3d 242 (2d Cir. 2015) .................................................................... 2, 16, 17
   8
       Pena v. Lindley
   9
         898 F.3d 969 (9th Cir. 2018) ............................................................................. 19
  10
       People v. James
  11     94 Cal. Rptr. 3d 576 (Cal. App. 2009) ................................................................ 8
  12
       Silveira v. Lockyer
  13       312 F.3d 1052 (9th Cir. 2002) ..................................................................... 2, 3, 4
  14   Silvester v. Harris
  15       843 F.3d 816 (9th Cir. 2016) ......................................................................... 7, 17

  16   Staples v. United States
          511 U.S. 600 (1994) .................................................................................. 8, 9, 10
  17
  18   Turner Broad. Sys., Inc. v. FCC (Turner I)
          520 U.S. 180 (1997) .......................................................................................... 18
  19
       United States v. Miller
  20
         307 U.S. 174 (1939) .......................................................................................... 14
  21
       United States v. Chovan
  22     735 F.3d 1127 (9th Cir. 2013) ........................................................................... 19
  23
       Wollard v. Gallagher
  24     712 F.3d 865 (4th Cir. 2014) ............................................................................. 18
  25   Worman v. Healey
  26     293 F. Supp. 3d 251 (D. Mass. 2018) ............................................................ 8, 13
  27
  28

                                                              iv
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 7 of 33 Page ID #:1660



   1                                         TABLE OF AUTHORITIES
   2                                               (continued)
                                                                                                                          Page
   3   STATUTES
   4   Assault Weapons Control Act .........................................................................passim
   5
       California Penal Code
   6      § 12275.5 ............................................................................................................3
   7      § 12276.5(a)(1) ................................................................................................... 3
          § 12276.5(a)(2) ................................................................................................... 3
   8      § 30505 ........................................................................................................... 1, 3
   9      § 30510(a)...........................................................................................................5
          § 30515(a)(1) ................................................................................................ 5, 11
  10      § 30515(a)(3) ......................................................................................................5
  11      § 30515(b) ..........................................................................................................5
          § 30520 ...............................................................................................................4
  12      § 30600(a)...........................................................................................................1
  13
       Public Safety and Recreational Firearms Use Protection Act ...................................4
  14
       CONSTITUTIONAL PROVISIONS
  15
       United States Constitution
  16
          Second Amendment ..................................................................................passim
  17      Fifth Amendment, Takings Clause .....................................................................6
          Fourteenth Amendment, Due Process Clause .....................................................6
  18
  19   COURT RULES
  20   Federal Rule of Civil Procedure 56(a) ......................................................................6
  21   Federal Rule of Evidence 201 ..................................................................................6
  22
       Local Rule 11-5.2 ....................................................................................................3
  23
  24
  25
  26
  27
  28

                                                                  v
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 8 of 33 Page ID #:1661



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                             Page
   3   OTHER AUTHORITIES
   4   California Code of Regulations, Title 11
   5       § 5471(nn) ....................................................................................................... 12
           § 5471(oo) ....................................................................................................... 12
   6       § 5471(qq) ....................................................................................................... 11
   7       § 5471(r) .......................................................................................................... 12
           § 5471(t) .......................................................................................................... 11
   8
           § 5471(z).......................................................................................................... 11
   9       § 5499 ............................................................................................................ 3, 5
  10   Code of Federal Regulations, Title 27
  11      § 447.11 ........................................................................................................... 10
          § 478.11 ........................................................................................................... 10
  12      § 4798.11 ......................................................................................................... 10
  13
       Senate Bill
  14      23.................................................................................................................... 4, 5
          23, § 3 .................................................................................................................4
  15
          23, § 7 .................................................................................................................4
  16      880 ...................................................................................................................... 5
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                   vi
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 9 of 33 Page ID #:1662



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                    INTRODUCTION
   3        In 1989, an individual armed with an AK-47 semiautomatic rifle opened fire at
   4   the schoolyard of Cleveland Elementary School in Stockton, California, where over
   5   300 children were playing. The shooter killed five children and wounded 29 others,
   6   expending over 100 rounds in four minutes. In response to this mass shooting, the
   7   California Legislature enacted the Roberti-Roos Assault Weapons Control Act (the
   8   “AWCA”). In enacting the AWCA, the Legislature found that an assault weapon
   9   “has such a high rate of fire and capacity for firepower that its function as a
  10   legitimate sports or recreational firearm is substantially outweighed by the danger
  11   that it can be used to kill and injure human beings.” Cal. Penal Code § 30505. The
  12   AWCA prohibits, among other things, the manufacture, possession, transport, sale,
  13   offer for sale, and importation of assault weapons, id. § 30600(a), including as
  14   relevant here, assault rifles, as defined by either make and model of the weapon, or
  15   by the presence of one or more of certain militaristic features.
  16        Plaintiffs bring a facial Second Amendment challenge to the AWCA’s
  17   restrictions on assault rifles—a category of military-style weapons that are
  18   unusually dangerous and unsuitable for civilian self-defense. Plaintiffs’ claim must
  19   fail. Assault rifles are “dangerous and unusual” weapons not protected by the
  20   Second Amendment for two reasons: they are, “like” the M-16, “most useful in
  21   military service”; and they are not commonly used for lawful self-defense. Even
  22   assuming the AWCA’s restrictions on assault rifles implicate the Second
  23   Amendment, they pass the appropriate level of scrutiny—intermediate scrutiny—
  24   because they reasonably fit the State’s important public-safety interests. Assault
  25   rifles have been used in some of the nation’s most notorious mass shootings,
  26   resulting in more deaths and more injuries, and used frequently in the murder of law
  27   enforcement officers. In restricting civilian access to a subset of dangerous,
  28

                                                 1
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 10 of 33 Page ID #:1663



    1   military-grade rifles, California seeks to reduce the number of gun deaths and
    2   injuries in the state.
    3        On this record, there is no triable issue of fact going to the facial
    4   constitutionality of AWCA’s assault rifle restrictions. Indeed, four federal circuit
    5   courts have addressed the issue and all have upheld bans on assault weapons under
    6   the Second Amendment by affirming the respective district court’s grant of
    7   summary judgment. See Kolbe v. Hogan, 849 F.3d 114, 140-41 (4th Cir. 2017) (en
    8   banc); N.Y. State Rifle & Pistol Ass’n v. Cuomo (NYSRPA), 804 F.3d 242, 262-64
    9   (2d Cir. 2015); Friedman v. City of Highland Park, 784 F.3d 406, 411-12 (7th Cir.
   10   2015); Heller v. District of Columbia (Heller II), 670 F.3d 1244, 1264 (D.C. Cir.
   11   2011). Consistent with these decisions, California’s regulation of assault rifles is
   12   constitutional. Plaintiffs’ lawsuit should be dismissed, and summary judgment
   13   entered in favor of defendant.
   14                                     BACKGROUND
   15   I.   THE ROBERTI-ROOS ASSAULT WEAPONS CONTROL ACT OF 1989
   16        The AWCA was the first legislative restriction on assault weapons in the
   17   nation. Silveira v. Lockyer, 312 F.3d 1052, 1057 (9th Cir. 2002), abrogated on
   18   other grounds by District of Columbia v. Heller, 554 U.S. 570 (2008). The
   19   California Legislature passed the AWCA in 1989 in response to a proliferation of
   20   shootings that involved semiautomatic weapons, including the Stockton schoolyard
   21   shooting. See id. at 1057; Kasler v. Lockyer, 2 P.3d 581, 587 (Cal. 2000),
   22   abrogated on other grounds by Heller, 554 U.S. 570.
   23        At the legislative committee hearing, the California Attorney General testified
   24   that “semi-automatic military assault rifles” were the “weapons of choice” for gang
   25   shootings. Kasler, 2 P.3d at 587 (citation omitted). And a Los Angeles police
   26   officer “familiar with gangs and the increasing use of assault weapons” also
   27   testified that there is “only one reason [gang members] use [military assault rifles],
   28   and that is to kill people. They are weapons of war.” Id. (citation omitted). The

                                                   2
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 11 of 33 Page ID #:1664



    1   Legislature found that “the proliferation and use of assault weapons poses a threat
    2   to the health, safety, and security of all citizens of this state.” Cal. Penal Code
    3   § 30505 (formerly Cal. Penal Code § 12275.5). The Legislature further found that
    4   each of the restricted firearms “has such a high rate of fire and capacity for
    5   firepower that its function as a legitimate sports or recreational firearm is
    6   substantially outweighed by the danger that it can be used to kill and injure human
    7   beings.” Id.
    8        The AWCA restricted the manufacture, possession, sale, transfer, or
    9   importation of 21 enumerated assault-rifle models. The weapons listed included
   10   “‘civilian’ models of military weapons that feature slightly less firepower than the
   11   military-issue versions, such as the Uzi, an Israeli-made military rifle; the AR-15, a
   12   semi-automatic version of the United States military’s standard-issue machine gun,
   13   the M-16; and the AK-47, a Russian-designed and Chinese-produced military rifle.”
   14   Silveira, 312 F.3d at 1058. These rifles appear like their military counterparts,
   15   possess many of the same military-style features, and commonly use the same
   16   ammunition as their military counterparts. See Def. Stmt. 8.1 These rifles are
   17   sometimes called “Category 1” rifles.
   18        The AWCA, as originally enacted, also included a mechanism for the
   19   California Attorney General to seek a judicial declaration in superior court that
   20   certain weapons identical to the listed firearms are also deemed “assault weapons”
   21   subject to the restrictions of the AWCA. Former Cal. Penal Code § 12276.5(a)(1)-
   22   (2). Following judicial confirmation of the legal requirements to add firearms to
   23   the prohibited list, the Attorney General added additional semiautomatic rifles to
   24   the prohibited assault weapons list. Cal. Code Regs. tit. 11, § 5499; see also
   25
              1
   26          Citations to “Def. Stmt.” are to the concurrently filed Defendant’s
        Statement of Uncontroverted Facts and Conclusions of Law. Citations to “Def.
   27   Exh.” are to the exhibits submitted by the accompanying Declaration of Peter H.
        Chang. In accordance with Local Rule 11-5.2, and for the Court’s convenience, the
   28   pages of Defendant’s exhibits have been numbered consecutively.

                                                   3
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 12 of 33 Page ID #:1665



    1   Kasler, 2 P.3d at 587. These rifles are sometimes called “Category 2” rifles. The
    2   Attorney General’s ability to add weapons to the assault weapons list ended in
    3   2006. See Cal. Penal Code § 30520.
    4         The original AWCA “was the model for a similar federal statute enacted in
    5   1994,” Silveira, 312 F.3d at 1057, the “Public Safety and Recreational Firearms
    6   Use Protection Act,” which banned assault weapons by make and model, and also
    7   by feature, Pub. L. no. 103-322; 108 Stat. 1796 (1994). The federal assault
    8   weapons ban expired in 2004.
    9   II.   THE AWCA’S RESTRICTIONS ON RIFLES BASED ON THEIR FEATURES
   10         After the AWCA was enacted, gun manufacturers began to produce “copycat”
   11   weapons that were “substantially similar to weapons on the prohibited list but
   12   differed in some insignificant way, perhaps only the name of the weapon, defeating
   13   the intent of the ban.” Def. Exh. 29 (S.B. 880 Rpt.) at 1131; Silveira, 312 F.3d at
   14   1058 n.5. To address the proliferation of these “copycat” weapons, the Legislature
   15   enacted Senate Bill 23, amending the AWCA “to broaden its coverage and to
   16   render it more flexible in response to technological developments in the
   17   manufacture of semi-automatic weapons.” Silveira, 312 F.3d at 1058; see Def.
   18   Exh. 34 (S.B. 23) at 1343. The Legislature added an alternative definition of
   19   assault weapon to include any “semiautomatic, centerfire rifle that has the capacity
   20   to accept a detachable magazine” and any one of a list of prohibited features,
   21   including a pistol grip beneath the action of the rifle, a thumbhole stock, an
   22   adjustable stock, a flash suppressor, or a forward pistol grip, or any semiautomatic,
   23   centerfire rifle that is less than 30 inches in length regardless of features. Def. Exh.
   24   34 at 1369-70 (S.B. 23, § 7). These assault rifles defined by feature are sometimes
   25   called “Category 3” rifles. By S.B. 23, the Legislature also amended the AWCA to
   26   prohibit the manufacture, importation, and sale of large-capacity magazines
   27   (“LCMs”) capable of holding more than 10 rounds of ammunition. Id. at 1343,
   28   1369-70.

                                                  4
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 13 of 33 Page ID #:1666



    1        After enactment of S.B. 23, gun manufacturers began producing “bullet
    2   button” rifles to circumvent S.B. 23’s detachable-magazine requirement. Def. Exh.
    3   29 (S.B. 880 Rpt.) at 1132. The “bullet button” was a minor design change made
    4   by gun manufacturers that allows shooters to use the tip of a bullet as a “tool” to
    5   push a button to release the ammunition magazine. Id. With the “bullet button,” a
    6   rifle no longer met the technical definition of a “detachable” magazine, and yet
    7   allowed a magazine to be removed and replaced in seconds, rendering meaningless
    8   the distinction between a magazine that is not “detachable” within the meaning of
    9   California law and a magazine that can be readily detached without the use of a
   10   tool. Id. The Legislature found that such “bullet button” rifles were used in the
   11   2015 San Bernardino shooting and that the rifles were “nearly indistinguishable
   12   from illegal assault weapons.” Id. at 1135; Def. Exh. 41 at 1521-22. In 2016, the
   13   Legislature enacted Senate Bill 880 (“S.B. 880”), 2016 Stat. ch. 48, to address this
   14   “bullet button” loophole by focusing on the absence of a “fixed magazine,” rather
   15   than on the “capacity to accept a detachable magazine.” See Cal. Penal Code
   16   § 30515(a)(1); id. § 30515(b) (defining “fixed magazine”).
   17        As it currently stands, the AWCA restricts any rifle listed by make and model,
   18   Cal. Penal Code § 30510(a); Cal. Code Regs. tit. 11, § 5499, as well as any
   19   centerfire, semiautomatic rifle that lacks a fixed magazine and has one or more
   20   enumerated militaristic features, such as a conspicuously protruding pistol grip
   21   beneath the action, a forward pistol grip, an adjustable stock, or a flash suppressor,
   22   or if the rifle is less than 30 inches in length, Cal. Penal Code §§ 30515(a)(1)(A)-
   23   (C), (E)-(F), 30515(a)(3). By such definition, the AWCA restricts only a subset of
   24   semiautomatic rifles. For example, it does not restrict any rimfire, semiautomatic
   25   rifles, nor does it restrict any centerfire, semiautomatic rifle that has none of the
   26   militaristic features or a fixed magazine of 10 rounds or less.
   27
   28

                                                   5
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 14 of 33 Page ID #:1667



    1                               PROCEDURAL HISTORY
    2        Plaintiffs’ Original and First Amended Complaints challenged certain of the
    3   AWCA’s restrictions concerning assault rifles and the assault rifle registration
    4   requirements under the Second Amendment, Due Process Clause, and the Takings
    5   Clause. In 2017, Defendant moved to dismiss Plaintiffs’ Takings Clause and Due
    6   Process Clause claims, ECF No. 17, and Plaintiffs moved for a preliminary
    7   injunction against the enforcement of certain registration requirements, ECF
    8   No. 41. The Court denied Plaintiffs’ motion for a preliminary injunction, granted
    9   Defendant’s motion to dismiss, and dismissed Plaintiffs’ Due Process and Takings
   10   Clause claims. ECF No. 49. The current operative Third Amended Complaint
   11   asserts the same claims, including the already dismissed Due Process and Takings
   12   Clause claims. Since the Court’s earlier order determined that Plaintiffs cannot
   13   proceed with the dismissed claims, id. at 19, only the Second Amendment claim
   14   remains at issue in this case.
   15                                    LEGAL STANDARD
   16        Under Federal Rule of Civil Procedure 56, a party is entitled to summary
   17   judgment if the “movant shows that there is no genuine dispute as to any material
   18   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
   19   56(a). When the constitutionality of a statute is at issue, a court’s decision “must be
   20   based largely on legislative, as opposed to adjudicative, facts.” Daggett v. Comm’n
   21   on Governmental Ethics & Election Practices, 205 F.3d 445, 455-56 (1st Cir.
   22   2000). Legislative facts, “which go to the justification for a statute, usually are not
   23   proved through trial evidence but rather by material set forth in the briefs, the
   24   ordinary limits on judicial notice having no application to legislative facts.”
   25   Daggett v. Comm’n on Governmental Ethics & Election Practices, 172 F.3d 104,
   26   112 (1st Cir. 1999) (citing Fed. R. Evid. 201 advisory committee’s note); see
   27   Korematsu v. United States, 584 F. Supp. 1406, 1414 (N.D. Cal. 1984)
   28

                                                  6
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 15 of 33 Page ID #:1668



    1   (“Legislative facts are facts of which courts take particular notice when interpreting
    2   a statute or considering whether [a legislative body] has acted within its
    3   constitutional authority.”).
    4                                       ARGUMENT
    5   I.    THE SECOND AMENDMENT’S LEGAL FRAMEWORK
    6         The Ninth Circuit uses a two-step inquiry for Second Amendment claims:
    7   “first, the court asks whether the challenged law burdens conduct protected by the
    8   Second Amendment; and if so, the court must then apply the appropriate level of
    9   scrutiny.” Silvester v. Harris, 843 F.3d 816, 821 (9th Cir. 2016). The first step
   10   considers whether the challenged law burdens conduct protected by the Second
   11   Amendment, based on a “historical understanding of the scope of the right.” Id. at
   12   820 (quoting Heller, 554 U.S. at 625). If the challenged law falls outside the
   13   historical scope of the Second Amendment, then that law “may be upheld without
   14   further analysis.” Id. at 821 (citation omitted). If the Court determines that the
   15   challenged law is subject to Second Amendment protection, it then proceeds to the
   16   second step of the inquiry to determine the appropriate level of scrutiny to apply,
   17   and then to apply that level of scrutiny. Id. (citation omitted).
   18
        II.   CALIFORNIA’S RESTRICTIONS ON ASSAULT RIFLES DO NOT BURDEN
   19         THE SECOND AMENDMENT
   20         The AWCA does not violate the Second Amendment because assault rifles are
   21   not protected by the Second Amendment. In Heller, the Supreme Court made clear
   22   that Second Amendment protection “extends only to certain types of weapons” and
   23   does not encompass a “right to keep and carry any weapon whatsoever in any
   24   manner whatsoever and for whatever purpose.” Heller, 554 U.S. at 623; see id. at
   25   626-27 & n.26. Importantly, it does not protect weapons that are “most useful in
   26   military service,” such as the “M-16 and the like.” Heller, 554 U.S. at 627; see
   27   Fyock v. Sunnyvale, 779 F.3d 991, 997 (9th Cir. 2015); Kolbe, 849 F.3d at 136.
   28   The Second Amendment also does not protect weapons not “in common use” for

                                                  7
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 16 of 33 Page ID #:1669



    1   lawful purposes like self-defense. Heller, 554 U.S. at 625. The challenged assault-
    2   rifle restrictions fall into both of these categories that Heller established as outside
    3   the scope of the Second Amendment.
    4
             A.    Assault Rifles Are “Like” the M-16 and Other “Weapons That
    5              Are Most Useful in Military Service”
    6        Assault rifles regulated under the AWCA fall outside the scope of the Second
    7   Amendment because they are, “like” the M16, “most useful in military service.”
    8   See Kolbe, 849 F.3d at 137 (“Whatever their other potential uses—including self-
    9   defense—the AR-15, other assault weapons, and large-capacity magazines . . . are
   10   unquestionably most useful in military service.”); accord Worman v. Healey, 293 F.
   11   Supp. 3d 251, 265-66 (D. Mass. 2018) (holding that AR-15s are beyond the scope
   12   of the Second Amendment), appeal docketed, No. 18-1454 (1st Cir. June 19, 2018);
   13   People v. James, 94 Cal. Rptr. 3d 576, 585-86 (Cal. App. 2009) (“Heller does not
   14   extend Second Amendment protection to assault weapons.”). Assault rifles were
   15   originally developed for military use and are equipped with military-style features
   16   designed to serve specific combat needs and enhance the usefulness (and lethality)
   17   of the weapons. See Def. Stmt. 5-6.
   18              1.   Assault Rifles Are Functionally Similar to Military Rifles
   19        The Supreme Court has highlighted the M-16 as exemplifying a “dangerous
   20   and unusual” weapon that falls outside the protection of the Second Amendment.
   21   Heller, 554 U.S. at 627. 2 The AR-15 and other assault rifles restricted by the
   22   AWCA have a military pedigree and are nearly identical to the M-16. Staples v.
   23   United States, 511 U.S. 600, 603 (1994) (“The AR-15 is the civilian version of the
   24   military’s M-16 rifle . . . “); Def. Stmt. 5-10. The AR-15 incorporates the
   25   functional design features that make military assault rifles effective in combat. Def.
   26         2
                To be precise, “‘[a]lthough the Heller Court invoked Blackstone for the
   27   proposition that ‘dangerous and unusual’ weapons have historically been
        prohibited, Blackstone referred to the crime of carrying ‘dangerous or unusual
   28   weapons.’” Kolbe, 849 F.3d at 131 n.9 (quoting 4 Blackstone 148-49 (1769)).

                                                   8
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 17 of 33 Page ID #:1670



    1   Stmt. 5-6. The primary difference between the M-16 and the AR-15 is that the
    2   M-16 is a select-fire rifle that allows the shooter to fire in either automatic or
    3   semiautomatic mode, while the AR-15 fires only in semiautomatic mode. Def.
    4   Stmt. 10. This is not a material difference. While semiautomatic rifles fire only
    5   one shot with each pull of the trigger, they can “still fire almost as rapidly as
    6   automatics.” See Heller II, 670 F.3d at 1263. In enacting the federal ban on assault
    7   weapons, including assault rifles, Congress found that semiautomatic weapons can
    8   be fired at rates of 300 to 500 rounds per minute, making them “virtually
    9   indistinguishable in practical effect from machineguns.” Def. Stmt. 11; see Heller
   10   II, 670 F.3d at 1263; see also Def. Stmt. 12 (a 30-second round magazine empties
   11   in less than second seconds on automatic, while the same magazine empties in just
   12   five seconds on semiautomatic).
   13        That semiautomatic rifles are not materially distinct from their automatic
   14   counterparts is also evidenced by the fact that military personnel are trained to use
   15   their select-fire weapons in semiautomatic mode for improved accuracy and
   16   control. Indeed, the U.S. Army considers the M-16 to be more dangerous and
   17   effective as an instrument of war when it is fired on semiautomatic mode than when
   18   it is fired on automatic mode. According to the Army, automatic fire “is inherently
   19   less accurate than semiautomatic fire.” Def. Exh. 19 at 911; see Def. Exh. 14
   20   (Boone Dep.) at 485:6-16. Beyond certain distances, “rapid semiautomatic fire is
   21   superior to automatic fire in all measures.” Def. Exh. 19 at 908. For this reason,
   22   the Army instructs its solders that their M-16 rifles should “normally be employed
   23   in the semiautomatic fire mode.” Id. at 912; see also Kolbe, 849 F.3d at 125
   24   (“[S]oldiers and police officers are often advised to choose and use semiautomatic
   25   fire, because it is more accurate and lethal than automatic fire in many combat and
   26   law enforcement situations.”).
   27        Furthermore, semiautomatic assault rifles, such as the AR-15, are easily
   28   converted to fire in automatic mode. In enacting the federal ban, Congress found

                                                   9
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 18 of 33 Page ID #:1671



    1   that “it is a relatively simple task to convert a semiautomatic weapon to automatic
    2   fire.” Def. Exh. 27 (H.R. Rpt. No. 103-489) at 1095. As the Supreme Court also
    3   observed, “[m]any M-16 parts are interchangeable with those in the AR-15 and can
    4   be used to convert the AR-15 into an automatic weapon.” Staples, 511 U.S. at 603.
    5   A metal stop on the AR-15 that prevents an M-16 selector switch to be installed can
    6   be easily filed away, as the plaintiff had done in Staples to create an automatic AR-
    7   15 machinegun. Id. Assault rifles can also be converted to automatic machineguns
    8   by adding a few parts or by drilling additional holes in the receiver of the rifle or by
    9   installing accessories, such as “bump stocks” or “multiburst trigger activators.”
   10   Def. Exh. 3 (Mersereau Rpt.) at 140, ¶ 20; Def. Exh. 15 (Kleck Dep.) at 642:8-10.3
   11
                  2.    The Prohibited Features, Individually and in Combination,
   12                   Serve Specific Combat Functions
   13        “[T]he features that characterize a semiautomatic weapon as an assault
   14   weapon are not merely cosmetic, but do serve specific, combat-functional ends.”
   15   Def. Exh. 27 (H.R. Rpt. No. 103-489) at 1095; see Kolbe, 849 F.3d at 132. The
   16   “net effect of these military combat features is a capability for lethality—more
   17   wounds, more serious, in more victims—far beyond that of other firearms in
   18   general, including other semiautomatic guns.” Def. Exh. 27 at 1096-97; see Def.
   19   Exh. 5 at 198-99, ¶¶ 12-13; see also id. at 199-200, ¶¶ 14-17.
   20                   a.   Ability to Accept Detachable Magazines
   21        An assault rifle without a fixed magazine enables the shooter to “rapidly
   22   reload” one magazine after another. Def. Exh. 22 (ATF Rpt.) at 1048. That feature
   23   renders a semiautomatic rifle “capable of killing or wounding more people in a
   24   shorter amount of time.” Def. Exh. 29 (S.B. 880 Rpt.) at 1133. Such a rifle is also
   25   capable of accepting LCMs, which “allow a shooter to fire more than ten rounds
   26         3
                As of March 26, 2019, bump stocks will be banned, see 27 C.F.R.
   27   §§ 447.11, 478.11, 4798.11, but that ban is currently being challenged in several
        lawsuits. Even if upheld, assault rifles could still be equipped with illegal bump
   28   stocks or other similar devices to mimic automatic fire.

                                                  10
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 19 of 33 Page ID #:1672



    1   without having to pause to reload.” Kolbe, 849 F.3d at 125. LCMs “are
    2   particularly designed and most suitable for military and law enforcement
    3   applications” and “are a feature common, but not unique, to the banned assault
    4   weapons, many of which are capable of accepting magazines of thirty, fifty, or even
    5   100 rounds.” Id. LCMs “are indicative of military firearms,” and the fact “[t]hat a
    6   firearm is designed and sold with a large capacity magazine, e.g., 20-30 rounds, is a
    7   factor to be considered in determining whether a firearm is a semiautomatic assault
    8   rifle.” Def. Exh. 22 (ATF Rpt.) at 1048. In fact, in 109 domestic public mass
    9   shootings from 1982 through September 2018, the use of LCMs resulted in an
   10   average of 27 fatalities and injuries compared to 9 fatalities and injuries when no
   11   LCMs were used. Def. Exh. 6 at 232.
   12                   b.   Pistol Grips and Thumbhole Stocks
   13        A pistol grip or thumbhole stock enables a shooter to maintain accuracy during
   14   repeated firing. A pistol grip “allows for a pistol style grasp in which the web of
   15   the trigger hand (between the thumb and index finger) can be placed beneath or
   16   below the top of the exposed portion of the trigger while firing.” Cal. Code Regs.
   17   tit. 11, § 5471(z); see Cal. Penal Code § 30515(a)(1)(A). A thumbhole stock
   18   “allows for a grip similar to that offered by a pistol grip.” Def. Exh. 2 (Graham
   19   Rpt.) at 123, ¶ 20; see Cal. Code Regs. tit. 11, § 5471(qq). A forward pistol grip
   20   “allows for a pistol style grasp forward of the trigger,” Cal. Code Regs. tit. 11,
   21   § 5471(t), which can help insulate the non-trigger hand from heat during rapid fire.
   22   Def. Stmt. 19. A forward pistol grip is also a feature of early machineguns. Id.
   23        A pistol grip or thumbhole stock is a ubiquitous feature of modern military
   24   rifles. Def. Exh. 3 (Mersereau Rpt.) at 137, ¶ 9; Def. Exh. 2 at 123, ¶ 19 & 5, ¶ 23.
   25   A pistol grip or thumbhole stock enables a shooter to maintain accuracy during
   26   rapid fire in combat situations. Def. Stmt. 16; Def. Exh. 22 (ATF Rpt.) at 1048
   27   (“[Pistol] grips were designed to assist in controlling machineguns during automatic
   28   fire.”); Def. Exh. 3 at 137-38, ¶ 9 (“Pistol grips and thumbhole stocks provide the

                                                  11
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 20 of 33 Page ID #:1673



    1   combatant with more control of the rifle and thus more accuracy during rapid
    2   fire.”).
    3                   c.   Folding or Telescoping Stocks
    4         A folding or telescoping stock enhances the portability and concealability of a
    5   rifle. A telescoping stock is “a stock which is shortened or lengthened by allowing
    6   one section to telescope into another portion.” Cal. Code Regs. tit. 11, § 5471(oo).
    7   A folding stock, by contrast, is a “stock which is hinged in some fashion to the
    8   receiver to allow the stock to be folded next to the receiver to reduce the overall
    9   length of the firearm.” Id. § 5471(nn). As described by a federal study, the
   10   “predominant advantage” of a folding or telescoping stock “is for military purposes,
   11   and it is not normally found on the traditional sporting rifle.” Def. Exh. 22 (ATF
   12   Rpt.) at 1048. A folding or telescoping stock also renders the rifle more
   13   concealable, as would a semiautomatic centerfire rifle that is under 30 inches in
   14   length, and allows a shooter to potentially carry a rifle undetected in public. Def.
   15   Exh. 3 (Mersereau Rpt.) at 138, ¶ 10 (“By collapsing the stock, the rifle becomes
   16   more concealable potentially allowing a suspect to introduce the firearm into a
   17   vulnerable location.”); Def. Exh. 2 (Graham Rpt.) at 124, ¶ 21 (adjustable stocks
   18   could “permit the shooter to smuggle the weapon undetected (by, for example,
   19   hiding the weapon in a backpack or bag) or to hide in a crowd without telegraphing
   20   the shooter’s location”).
   21                   d.   Flash Suppressors
   22         A flash suppressor is a device attached to the muzzle of a rifle to reduce the
   23   flash emitted upon firing. Cal. Code Regs. tit. 11, § 5471(r). It is a standard feature
   24   of the M-16 that can aid a shooter to maintain accurate, rapid fire in low-light
   25   conditions. Def. Stmt. 22-23; Def. Exh. 22 (ATF Rpt.) at 7 (“[T]he mere removal
   26   of the flash suppressor may have an adverse impact on the accuracy of the
   27
   28

                                                  12
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 21 of 33 Page ID #:1674



    1   firearm.”). A flash suppressor can also help conceal the shooter’s position,
    2   especially at night. Def. Stmt. 24; Def. Exh. 22 (ATF Rpt.) at 1049.
    3             3.    Gun Manufacturers Market Assault Rifles to Civilians
                        Based on Their Militaristic Features
    4
    5        Manufacturers of assault rifles have advertised them to civilians as military-
    6   grade weapons, emphasizing their military history and similarity to military rifles.
    7   See Kolbe, 849 F.3d at 125 (“Several manufacturers of the banned assault weapons,
    8   in advertising them to the civilian market, tout their products’ battlefield
    9   prowess.”); Def. Exh. 1 (Donohue Rpt.) at 25, ¶¶ 58-59; see, e.g., Def. Exhs. 24-25.
   10   Beginning in the 1980s, the gun industry began to market heavily military-style
   11   rifles to the civilian gun market, Def. Exh. 32 at 1277, using the term “assault
   12   rifles” to describe these military-style weapons. See Def. Exh. 35 at 1457, 1459,
   13   1465 (July 1981 Guns & Ammo) (variously describing a “new breed of assault
   14   rifles” as “[s]pawned in the crucible of war,” “military-type,” “military-style,” and
   15   “military autoloaders”).
   16        In light of the similarities between restricted assault weapons and military
   17   weapons “like” the M-16, both the Fourth Circuit and the Massachusetts District
   18   Court have held that assault weapons are not protected by the Second Amendment
   19   under Heller. Kolbe, 849 F.3d at 137 (affirming the district court’s award of
   20   summary judgment in favor of the State; “Because the banned assault weapons and
   21   large-capacity magazines are clearly most useful in military service, we are
   22   compelled by Heller to recognize that those weapons and magazines are not
   23   constitutionally protected”); Worman, 293 F. Supp. 3d at 266 (granting summary
   24   judgment in favor of the state; “because the undisputed facts convincingly
   25   demonstrate that AR-15s and LCMs are most useful in military service, they are
   26   beyond the scope of the Second Amendment”). The Court should similarly find
   27
   28

                                                  13
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 22 of 33 Page ID #:1675



    1   that assault rifles restricted under the AWCA are “like” the M-16, most useful in
    2   military service, and beyond the scope of Second Amendment protection.
    3
             B.   Assault Rifles Are Not Commonly Owned or Used for Purposes
    4             Protected by the Second Amendment
    5        Another important limitation on the scope of the Second Amendment is that it
    6   protects only the types of weapons “‘in common use at the time’ for lawful
    7   purposes like self-defense.” Heller, 554 U.S. at 627 (quoting U.S. v. Miller, 307
    8   U.S. 174, 179 (1939)); see Fyock, 779 F.3d at 997. To establish a cognizable claim
    9   under the Second Amendment, Plaintiffs must show that assault rifles are both
   10   commonly owned and used for the core Second Amendment purpose of self-
   11   defense. They cannot do so.
   12             1.   Assault Rifles Are Not Commonly Owned
   13        The assault rifles restricted by the AWCA comprise only a small fraction of all
   14   firearms. The AWCA does not restrict handguns—the “quintessential self-defense
   15   weapon”—shotguns, or even all semiautomatic rifles. Rather, like the assault
   16   weapons bans upheld in other judicial circuits, the AWCA restricts only a small
   17   subset of rifles that “are designed to enhance their capacity to shoot multiple human
   18   targets very rapidly.” Heller II, 670 F.3d at 1262.
   19        California has accurate data on lawful assault-rifle ownership because the state
   20   had required owners of assault rifles to register those firearms to maintain lawful
   21   possession before the rifles become restricted. As of November 2, 2018, there were
   22   approximately 166,640 assault rifles registered in California. Def. Exh. 18 at 895. 4
   23   In a state with approximately 30.84 million adults, even assuming that each of the
   24   approximately 166,000 assault rifles is owned by a separate adult, it would mean
   25   that approximately 0.5 % of adult Californians own an assault rifle, an ownership
   26
              4
                Only approximately 174,180 assault rifles have ever been registered in
   27   California, a higher number than currently registered because some registered
        owners may have become prohibited from possessing a firearm, deceased, or
   28   dispossessed themselves of the rifles. Def. Exh. 18 at 895.
                                                 14
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 23 of 33 Page ID #:1676



    1   rate far from what may be considered “common.” Def. Exh. 7 at 252, ¶ 18; see
    2   Def. Exh. 39 at 1511 (Census data). The actual ownership rate is likely less than
    3   half of one percent because gun ownership is highly concentrated and growing
    4   more so. Def. Exh. 7 at 252, ¶ 18; see Def. Stmt. 29. Evidence shows that
    5   approximately 20 percent of gun owners own 60 percent of the nation’s firearms.
    6   Def. Exh. 1 (Donohue Rpt.) at 8, ¶ 22. 66 percent of owners of AR- or AK-
    7   platform rifles own two or more such rifles; over 30 percent of them report owning
    8   three or more such rifles; and over 25 percent of them own four or more such rifles.
    9   Def. Stmt. 30-31.
   10             2.    Assault Rifles Are Not Commonly Used for Self-Defense
   11        The core of the Second Amendment, as described in Heller, is “the right of
   12   law-abiding, responsible citizens to use arms in defense of hearth and home.” See
   13   Bauer v. Becerra, 858 F.3d 1216, 1221 (9th Cir. 2017) (quoting Heller, 554 U.S. at
   14   635). There is no evidence that assault rifles are commonly used for self-defense
   15   either inside or outside the home. Instead, in the extreme rare instances when
   16   individuals in the United States fire a gun in self-defense, only 4.6 percent of the
   17   time did the defender use a rifle of any type (whether assault or non-assault). Def.
   18   Exh. 33 at 1341.5
   19        The rarity with which assault rifles have been used in self-defense is to be
   20   expected. As one circuit court held, assault weapons do not have “any legitimate
   21   use as self-defense weapons” and they “in fact increase the danger to law-abiding
   22   users and innocent bystanders if kept in the home or used in self-defense
   23   situations.” Heller II, 698 F.Supp.2d at 193-94; see also Def. Exh. 20 at 949 (“In
   24   addition to utilizing military features useful in combat, but which have no
   25         5
                  When confronted with potential violence, the victim used a gun in self-
        defense in less than one percent of these incidents. Def. Exh. 1 (Donohue Rpt.) at
   26   35, ¶ 86. In those rare instances when a gun is used, 98 percent of the time it
        involves merely brandishing, rather than firing, the gun, which is enough to cause
   27   the criminal to stop the attack. Id. at 35-36, ¶¶ 87-88. And brandishing an assault
        rifle is no more effective in stopping an attack than brandishing a handgun. Def.
   28   Exh. 10 (Graham Dep.) at 305:20-306:8.
                                                 15
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 24 of 33 Page ID #:1677



    1   legitimate civilian purpose, assault weapons are exceedingly dangerous if used in
    2   self defense, because the bullets many of the weapons fire are designed to penetrate
    3   humans and will penetrate structures, and therefore pose a heightened risk of hitting
    4   innocent bystanders.”). Assault rifles, in particular, are not well suited for defense
    5   use in the home. Def. Exh. 1 (Donohue Rpt.) at 38-39, ¶ 96; Def. Exh 3 (Mersereau
    6   Rpt.) at 141-42, ¶ 23. They are less effective in home-defense situations than
    7   handguns in part because they are less maneuverable in confined areas such as a
    8   home. Def. Exh. 1 at 43-44, ¶ 107; Def. Exh. 3 (Mersereau Rpt.) at 141-42, ¶ 23.
    9   In defensive gun uses, handguns are the preferred weapon. See Heller, 554 U.S. at
   10   629; Def. Exh. 15 (Kleck Dep.) at 672:5-21. For that reason, law enforcement
   11   officers recommend handguns and not rifles—let alone assault rifles—for home
   12   defense. Def. Exh. 1 at 44, ¶ 107.
   13
        III. EVEN IF THE SECOND AMENDMENT IS IMPLICATED, CALIFORNIA’S
   14        RESTRICTIONS ON ASSAULT RIFLES ARE CONSTITUTIONAL
   15        Should the Court reach the second step of the Second Amendment analysis,
   16   the Court must uphold the restrictions under intermediate scrutiny, consistent with
   17   every circuit court to have selected and applied a level of scrutiny to assault-
   18   weapon restrictions. See Kolbe, 849 F.3d at 140-41; NYSRPA, 804 F.3d at 269;
   19   Heller II, 670 F.3d at 1263. But see Friedman, 784 F.3d at 410 (upholding assault
   20   weapons ban without selecting a level of scrutiny).
   21        A.   Intermediate Scrutiny Is the Appropriate Standard of Review
   22        In determining the appropriate level of scrutiny to apply to a Second
   23   Amendment challenge, the Court must consider “(1) how close the challenged law
   24   comes to the core of the Second Amendment right, and (2) the severity of the law’s
   25   burden on that right.” Jackson v. City & Cty. of San Francisco, 746 F.3d 953, 960-
   26   61 (9th Cir. 2014). Intermediate scrutiny applies unless the challenged law destroys
   27   the right of self-defense of the home or severely burdens the core of the Second
   28

                                                  16
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 25 of 33 Page ID #:1678



    1   Amendment right. Bauer, 858 F.3d at 1222 (internal quotation marks and citations
    2   omitted).
    3        The AWCA does not burden Californians’ “inherent right of self-defense” that
    4   the Second Amendment protects. See Heller, 554 U.S. at 628. At most, the
    5   AWCA regulates the manner in which persons may exercise their Second
    6   Amendment rights—Californians may select from a range of firearms to engage in
    7   lawful self-defense, except for a small subset of firearms comprising assault
    8   weapons. See Jackson, 746 F.3d at 961. The AWCA’s restriction on assault rifles
    9   “leave[s] open alternative channels for self-defense.” Id. It does not restrict the
   10   ability of Californians to possess or use for self-defense handguns and shotguns—
   11   weapons more commonly used, better suited, and more effective for self-defense
   12   purposes.6 The AWCA does not even ban an entire category of rifles or
   13   semiautomatic rifles. In fact, Californians may lawfully acquire for lawful
   14   purposes, like self-defense, an array of semiautomatic rifles: a centerfire
   15   semiautomatic rifle without a fixed magazine, provided it is not a prohibited make
   16   and model and does not have any of the prohibited features (i.e., is “featureless”); a
   17   centerfire semiautomatic rifle with any of the militaristic features and with a fixed
   18   magazine of 10 rounds or less; or a rimfire semiautomatic rifle with any features.7
   19        As this Court held in denying Plaintiffs’ motion for a preliminary injunction,
   20   “intermediate scrutiny is appropriate” where individuals “remain free to choose any
   21   weapon that is not restricted by the AWCA or another state law.” ECF No. 49 at
   22   23. In contrast to the ordinance at issue in Heller, the AWCA restricts only a
   23   particularly dangerous subset of military-style weapons. The AWCA, therefore,
   24   does not “prevent a person from keeping a suitable and commonly used weapon for
   25
              6
                 Indeed, 90% of all owners of AR- or AK-platform rifles own a handgun
   26   prior to owning a rifle. Def. Exh. 42 at 1531.
               7
                 A rimfire rifle fires rimfire cartridges, which are lower pressure than
   27   centerfire cartridges, resulting in lower bullet travel speed and generally lower
        power. Def. Exh. 14 (Boone Dep.) at 482:12-483:24; Def. Exh. 16 (Helsley Dep.)
   28   at 753:6-23.
                                                 17
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 26 of 33 Page ID #:1679



    1   protection in the home or for hunting, whether a handgun or a non-automatic long
    2   gun.” Heller II, 670 F.3d at 1262. For these reasons, the AWCA’s restrictions on
    3   assault rifles do not rise to the level of a “substantial burden” and should be
    4   analyzed under intermediate scrutiny. See Kolbe, 849 F.3d at 140-41; NYSRPA,
    5   804 F.3d at 269; Heller II, 670 F.3d at 1263.
    6
             B.    The Assault-Rifle Restrictions Are Reasonably Fitted to
    7              Important Public-Safety Interests
    8        A regulation satisfies intermediate scrutiny if (1) the government’s stated
    9   objective is “significant, substantial, or important”; and (2) there is a “‘reasonable
   10   fit’ between the challenged regulation and the asserted objective.” Silvester, 843
   11   F.3d at 821-22 (citation omitted). Intermediate scrutiny does not require the fit
   12   between the challenged regulation and the stated objective to be perfect, nor does it
   13   require that the regulation be the least restrictive means of serving the interest.
   14   Jackson, 746 F.3d at 969. Rather, the government “must be allowed a reasonable
   15   opportunity to experiment with solutions to admittedly serious problems.” Id. at
   16   969-70 (quoting City of Renton v. Playtime Theatres, Inc., 475 U.S. 41, 52 (1986)).
   17        In determining whether a law survives intermediate scrutiny, courts “afford
   18   substantial deference to the predictive judgments of the legislature.” Turner Broad.
   19   Sys., Inc. v. FCC (Turner I), 520 U.S. 180, 195 (1997). Even when the record
   20   contains conflicting evidence, “[i]t is the legislature’s job, not [the courts’], to
   21   weigh conflicting evidence and make policy judgments.” Kachalsky v. Cnty. of
   22   Westchester, 701 F.3d 81, 99 (2d Cir. 2012); accord Wollard v. Gallagher, 712
   23   F.3d 865, 881-82 (4th Cir. 2014). Deferential review is particularly appropriate
   24   “[i]n the context of firearm regulation” because “the legislature is ‘far better
   25   equipped than the judiciary’ to make sensitive public policy judgments (within
   26   constitutional limits) concerning the dangers in carrying firearms and the manner to
   27   combat those risks.” Kachalsky, 701 F.3d at 97 (quoting Turner, 512 U.S. at 665
   28   (plurality)). Under intermediate scrutiny, the government may “rely on any

                                                   18
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 27 of 33 Page ID #:1680



    1   evidence ‘reasonably believed to be relevant’ to substantiate its important
    2   interests,” and the Court “may consider ‘the legislative history of the enactment as
    3   well as studies in the record or cited in pertinent case law.’” Fyock, 779 F.3d at
    4   1000 (quotation omitted). Such “evidence need only ‘fairly support[]’ [the
    5   government’s] conclusions.” Pena v. Lindley, 898 F.3d 969, 982 (9th Cir. 2018)
    6   (quotation omitted). The AWCA easily passes scrutiny under this framework.
    7        “[I]t is beyond question that the government’s interest in promoting public
    8   safety and reducing gun violence is important or substantial.” ECF No. 49 at 11;
    9   see, e.g., Fyock, 779 F.3d at 1000; United States v. Chovan, 735 F.3d 1127, 1135
   10   (9th Cir. 2013). The AWCA furthers that interest directly by restricting a
   11   particularly dangerous subclass of firearms that pose an acute danger to the public
   12   and law enforcement. Assault weapons are used disproportionately in gun crime,
   13   particularly mass shootings, and the killing of law enforcement personnel, resulting
   14   in increased casualties.
   15             1.     Assault Rifles Are Favored by Criminals and Used
                         Disproportionally in Crime
   16
   17        In passing the federal assault weapons ban, Congress found that
   18   “semiautomatic assault weapons are the weapons of choice among drug dealers,
   19   criminal gangs, hate groups, and mentally deranged persons bent on mass murder.”
   20   Def. Exh. 27 (H.R. Rpt. No. 103-489) at 1090. It further found that “[t]he carnage
   21   inflicted on the American people [by] criminals and mentally deranged people
   22   armed with . . . semi-automatic assault weapons has been overwhelming and
   23   continuing,” and the use of those weapons by “criminal gangs, drug-traffickers, and
   24   mentally deranged persons continues to grow.” Id. at 1089-90. Similar findings
   25   were made by the California Legislature when it enacted the AWCA. See Kasler,
   26   2 P.3d at 587.
   27        Assault weapons and assault rifles are also used disproportionately in crime
   28   relative to their market presence. According to the Director of the Bureau of

                                                 19
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 28 of 33 Page ID #:1681



    1   Alcohol, Tobacco, Firearms in testimony to Congress, firearms tracing statistics
    2   showed that assault weapons were proportionally more often used in crimes
    3   compared to handguns. Def. Exh. 27 at 1090.8 Congress found this statistical
    4   evidence to be supported by law enforcement officials’ observations on the streets.
    5   Id. These Congressional findings are supported by recent studies that show assault
    6   weapons, primarily assault rifles, are used in up to 8% of all crimes involving
    7   firearms. Def. Exh. 23 (Koper Article) at 1063. More generally, assault weapons
    8   and other high-capacity semiautomatic weapons account for 22 to 36 percent of
    9   crime guns, and “appear to be used in a higher share of firearm mass murders (up to
   10   57% in total).” Id.
   11              2.   Assault Rifles Are Used Disproportionately in Mass
                        Murders
   12
   13        Assault rifles are also disproportionately used in mass murders. One
   14   researcher found that approximately one-third of firearm mass murders involved an
   15   assault rifle. Def. Exh. 23 (Koper Article) at 1066. Another researcher who
   16   examined 109 public mass shootings found that an assault rifle was used in 26 of
   17   those incidents. Def. Exh. 6 at 232.9 These tragedies are increasing: public mass
   18   shootings have been increasing from an average of 2.7 events per year in the 1980s
   19   to an average of 4.5 events per year from 2010 to 2013. Def. Exh. 1 (Donohue
   20   Rpt.) at 12, ¶ 34.
   21
              8
                 While many statistics cite only assault weapons without breaking down the
   22   ratio of pistols, rifles, and shotguns, data suggests that most assault weapons used in
        crime are assault rifles. That assault weapons are primarily assault rifles can be
   23   seen by the assault weapon registration numbers in California. As of November 2,
        2018, over 90 percent of registered assault weapons are assault rifles. Def. Stmt. 26
   24   (166,640 assault rifles out of a total assault weapons registration of 184,552).
               9
   25            This analysis is based on the Mother Jones survey of public mass shootings,
        which is arguably the most comprehensive compilation of public mass shootings in
   26   the country. Def. Exh. 5 at 197-98, ¶¶ 8-9 & n.9. The Mother Jones survey has
        been cited favorably in numerous cases. See N.Y.S. Rifle & Pistol Ass’n v. Cuomo,
   27   990 F. Supp. 2d 349, 369 (W.D.N.Y. 2013), aff’d in part and rev’d in part by
        NYSRPA, 804 F.3d 242; Kolbe v. O’Malley, 42 F. Supp. 3d 768, 780 & n.17
   28   (D. Md. 2014), aff’d by Kolbe, 849 F.3d 114.

                                                 20
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 29 of 33 Page ID #:1682



    1        When such weapons are deployed in mass shootings, they “result in ‘more
    2   shots fired, persons wounded, and wounds per victim than other gun attacks.’” Def.
    3   Exh. 1 at 44, ¶ 108. Mass shootings involving assault weapons and LCMs resulted
    4   in more than twice as many people shot on average compared to other incidents.
    5   Def. Exh. 23 (Koper Article) at 1067; see Def. Exh. 1 at 45, ¶ 109; see also Def.
    6   Stmt. 32. In 109 public mass shootings, when an assault rifle was used, the average
    7   number of fatalities or injuries was 41 per shooting, compared to 11 per shooting in
    8   which an assault weapon was not used. Def. Exh. 6 at 232.
    9             3.   Assault Rifles Are Used Disproportionately Against Law
                       Enforcement Officers
   10
   11        Assault rifles pose particular danger against law enforcement officers and have
   12   been used disproportionally against them. Assault rifle rounds are capable of
   13   penetrating the soft armor worn by police officers that would otherwise stop
   14   handgun rounds. Def. Stmt. 33; Def. Exh. 11 at 370:5-18; see Def. Exh. 30 at
   15   1161-62. Evidence shows that 13 to 16 percent of guns used in the murders of
   16   police are assault weapons, virtually all assault rifles. Def. Exh. 23 (Koper Article)
   17   at 1062, 1068. Between 1998 and 2001, at least one in five law enforcement
   18   officers killed in the line of duty was killed with an assault weapon. Def. Exh. 31 at
   19   1249. Assault weapons and high-capacity weapons account for upwards of 40
   20   percent of cases involving serious violence, including murders of police. Def. Exh.
   21   23 (Koper Article) at 1062, 1068.
   22             4.   Assault Rifles Are More Lethal and Cause More Serious
                       Injuries Than Handguns
   23
   24        Assault rifles inflict more numerous and more extensive injuries in gunshot
   25   victims than wounds from handguns. According to the surgeon who treated victims
   26   of two of the country’s deadliest mass shootings—Columbine and Aurora,
   27   Colorado—“[g]unshot wounds from assault rifles, such as AR-15s and AK-47s,
   28   tend to be higher in complexity with higher complication rates than such injuries

                                                 21
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 30 of 33 Page ID #:1683



    1   from non-assault weapons, increasing the likelihood of morbidity in patients that
    2   present injuries from assault rifles.” Def. Exh. 4 (Colwell Rpt.) at 146. Victims of
    3   assault rifles are also “at far greater risk of both immediate and long-term
    4   complications,” including “higher amputation rates and higher infection rates.” Id.
    5   at 147.
    6        The “effects of rifle bullets can be far more destructive compared to handguns
    7   because of their higher energy,” and the “explosive” effects on gunshot victims.
    8   Def. Exh. 38 (Stephanopolous Article) at 1505. When a bullet enters a victim’s
    9   body, it could create two types of cavities: a permanent cavity where the bullet
   10   passes through the tissue, and a temporary cavity where the energy of the bullet
   11   causes tissue displacement inside the body. Def. Stmt. 35; Def. Exh. 38 at 1507.
   12        A handgun bullet typically creates only a permanent cavity in its victims
   13   where the bullet passes through the tissue. Def. Exh. 44 at 1548; Def. Stmt. at 35.
   14   An assault rifle bullet, by contrast, creates a larger permanent cavity in the victim’s
   15   body than the diameter of the bullet because it rotates vertically after it enters the
   16   body. Def. Stmt. 36. A common assault rifle bullet also causes a temporary cavity
   17   inside the victim’s body in a phenomenon called “cavitation.” Cavitation is
   18   “considered the most important feature in wound ballistics of high-velocity
   19   projectiles.” Def. Exh. 38 (Stephanopolous Article) at 1505. Cavitation occurs
   20   when tissue is displaced behind a bullet, causing a temporary cavity that is larger
   21   than the permanent cavity of the bullet’s path, after which “the energy stored in any
   22   displaced tissue without enough elasticity cause[s] the cavity walls to collapse, with
   23   a few cycles of expansion and contraction (‘pulsations’) following in a waning
   24   fashion, until tissue settles in the form of the residual wound track.” Id. at 1507.
   25   This process strains, compresses, and shears the affected tissue. Id. Handguns
   26   typically do not cause temporary cavities, and when they do, the temporary cavities
   27   they create are typically not as injurious to the issue and can be more easily treated
   28   by a physician. Def. Stmt. 37; see Def. Exh. 44 at 1541.

                                                  22
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 31 of 33 Page ID #:1684



    1        Public mass shootings with assault rifles also cause harm to those beyond the
    2   direct shooting victims. Social science studies consistently show that mass
    3   shootings can lead to increased levels of post-traumatic stress symptoms, anxiety,
    4   and depression in survivors long after the shootings, particularly in children. Def.
    5   Exh. 1 (Donohue Rpt.) at 15-17, ¶¶ 38-41; see also Def. Exh. 37 at 1491-93.
    6        C.    The AWCA’s Assault Rifle Restrictions Reasonably Further
                   California’s Public-Safety Interests
    7
    8        Restricting the possession of assault rifles has had and will continue to have a
    9   significant impact on public safety. Evidence shows that assault weapons
   10   restrictions are effective in reducing gun violence, particularly violence associated
   11   with mass shootings.10 Prior to its expiration, for example, the federal assault
   12   weapons ban was effective in reducing the prevalence of the banned assault
   13   weapons in gun crime, as Plaintiffs’ own expert acknowledges. Def. Stmt. 38.
   14   Criminal use of assault weapons declined during the years of the federal ban and
   15   increased after the ban expired. Def. Exh. 1 (Donohue Rpt.) at 4, ¶ 12, 23-24,
   16   ¶¶ 55-56; see Def. Exh. 23 (Koper Article) at 1068. One study comparing data
   17   during the ten-year period of the federal ban with preceding ten-year period shows
   18   that the number mass shootings (in which at least six people were killed) dropped
   19   by 37 percent (from 19 to 12) and the number of fatalities dropped by 43 percent
   20   (from 155 to 89). Def. Exh. 1 at 23-24, ¶¶ 55-56. In the ten-year period after the
   21   federal assault weapons ban expired, however, the use of assault weapons in crime
   22   and the number of mass shootings both increased in relation to the ten-year period
   23   of the federal ban. Id.; see Def. Exh. 23 (Koper Article) at 1062, 1068. Mass
   24   shootings jumped by 183 percent (from 12 to 34) and the number of fatalities
   25   jumped by 239 percent (from 89 to 302). Def. Exh. 1 at 23-24, ¶ 56. The sharp
   26
   27
              10
                 See Def. Ex. 40 at 1519 (California’s gun-death rate was reduced by 56%
   28   in the 20 years after the AWCA was enacted).
                                                 23
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 32 of 33 Page ID #:1685



    1   increase in mass shootings is in contrast to the general downward trend in overall
    2   crime over the same period of time. Id.
    3        Assault weapons bans have also been effective in other countries. For
    4   example, Australia implemented an assault weapons ban in 1996, following a
    5   public mass shooting in Port Arthur Tamania. Def. Exh. 1 (Donohue Rpt.) at 39-
    6   40, ¶ 98. In the 17-year period before the ban, there were seven public mass
    7   shootings in Australia, but none in the 22 years after. Id. After New Zealand
    8   suffered the recent devastating public mass shooting in two Christchurch mosques
    9   on March 15, 2019, in which 50 worshippers were killed, it has since implemented
   10   a ban on military-style semiautomatic weapons. Def. Exh. 36 at 1470.
   11        As this evidence shows, the AWCA, like the federal assault weapons ban,
   12   advances important interests in protecting citizens and law enforcement from gun
   13   violence, promoting public safety and preventing crime. Indeed, the AWCA’s
   14   restrictions on assault rifles is likely to be more effective in reducing gun crimes
   15   than the federal ban because, unlike the federal ban’s two-feature test, the AWCA
   16   restricts centerfire rifles capable of accepting a detachable magazine if it has one of
   17   the military-style features. Def. Stmt. 39. The AWCA, therefore, has reduced and
   18   can be expected to further reduce the overall death and injury from the criminal use
   19   of guns. See Def. Exh. 1 at 31, ¶ 77.
   20
                                           CONCLUSION
   21
   22        For the reasons provided above, Defendant respectfully requests that the Court
   23   enter summary judgment in his favor.
   24
   25
   26
   27
   28

                                                  24
Case 8:17-cv-00746-JLS-JDE Document 73 Filed 03/25/19 Page 33 of 33 Page ID #:1686



    1
        Dated: March 25, 2019                    Respectfully submitted,
    2
                                                 XAVIER BECERRA
    3                                            Attorney General of California
                                                 MARK R. BECKINGTON
    4                                            Supervising Deputy Attorney General
                                                 JOHN D. ECHEVERRIA
    5                                            Deputy Attorney General
    6                                            /s/ Peter H. Chang
    7                                            PETER H. CHANG
                                                 Deputy Attorney General
    8                                            Attorneys for Defendant Xavier
                                                 Becerra
    9
        SA2017106868
   10   21397265.docx

   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                            25
